                      Case 2:15-cr-00227-JAM Document 115 Filed 01/25/18 Page 1 of 7
AO 245B-CAED(Rev. 11/2016) Sheet 1 - Judgment in a Criminal Case



                            UNITED STATES DISTRICT COURT
                                               Eastern District of California
               UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                          v.                                             Case Number: 2:15CR00227-1
               MICHAEL CAREY CLEMANS                                     Defendant's Attorney: Daniel B. Olmos, Retained

THE DEFENDANT:
     pleaded guilty to count(s) 3, 5, and 6 of the second Superseding Indictment.
     pleaded nolo contendere to count(s)    which was accepted by the court.
     was found guilty on count(s) 1, 2, and 4 after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
                                                                                                            Date Offense    Count
Title & Section                       Nature Of Offense
                                                                                                            Concluded       Number
                                      Conspiracy to travel with intent to engage in illicit sexual conduct
18 USC§2423(b) and (e)                                                                                     6/24/2015        2
                                      (Class B Felony)
                                      Travel and attempted travel with intent to engage in illicit sexual
18 USC§2423(b) and (e)                                                                                    11/15/2013        1
                                      conduct (Class B Felony)
18 USC§2251(c)                        Conspiracy to produce child pornography (Class B Felony)              7/24/2015       3
18 USC§2251A(b)(1)                    Buying of children (Class A Felony)                                   7/24/2015       4
                                      Attempted production and production of child pornography
18 USC§2251(c)                                                                                              7/24/2015       5
                                      (Class B Felony)
18 USC§2252(a)(2)                     Receipt of child pornography (Class C Felony)                         5/24/2015       6

       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      .
     Count(s)      dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                      Appeal rights waived.

        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in economic
circumstances.
                                                                        1/23/2018
                                                                        Date of Imposition of Judgment
                                                                        /s/ John A. Mendez
                                                                        Signature of Judicial Officer
                                                                        John A. Mendez, United States District Judge
                                                                        Name & Title of Judicial Officer
                                                                        1/25/2018
                                                                        Date
                     Case 2:15-cr-00227-JAM Document 115 Filed 01/25/18 Page 2 of 7
AO 245B-CAED(Rev. 11/2016) Sheet 2 - Imprisonment
DEFENDANT:MICHAEL CAREY CLEMANS                                                                                              Page 2 of 7
CASE NUMBER:2:15CR00227-1

                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
Life (360 months on each of Counts 1, 2, 3, and 5); Life on Count 4; and 240 months on Count 6, all to run concurrent for a total term
of Life..

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      Placement at an institution with services for defendants who have committed a similar offense.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                       to
at                                                  , with a certified copy of this judgment.



                                                                       United States Marshal


                                                                       By Deputy United States Marshal
                      Case 2:15-cr-00227-JAM Document 115 Filed 01/25/18 Page 3 of 7
AO 245B-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:MICHAEL CAREY CLEMANS                                                                                                Page 3 of 7
CASE NUMBER:2:15CR00227-1

                                                          SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
Life on all counts to run concurrent, for a total term of Life..

                                                    MANDATORY CONDITIONS
You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.


      The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse.

      You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
      restitution.

      You must cooperate in the collection of DNA as directed by the probation officer.

      You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense.

      You must participate in an approved program for domestic violence.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
                      Case 2:15-cr-00227-JAM Document 115 Filed 01/25/18 Page 4 of 7
AO 245B-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:MICHAEL CAREY CLEMANS                                                                                                Page 4 of 7
CASE NUMBER:2:15CR00227-1

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
         how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the Court or the probation officer.
4.       You must answer truthfully the questions asked by the probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
         change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
         probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
         you from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation
         officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
         probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
         been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
         permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
         nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the Court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
         may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.
                                                    U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________ Date _________________
                      Case 2:15-cr-00227-JAM Document 115 Filed 01/25/18 Page 5 of 7
AO 245B-CAED(Rev. 11/2016) Sheet 3 - Supervised Release
DEFENDANT:MICHAEL CAREY CLEMANS                                                                                                  Page 5 of 7
CASE NUMBER:2:15CR00227-1

                                         SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall provide the probation officer with access to any requested financial information.
3.       The defendant shall not possess or have access to any cellular phone without the advance permission of the probation officer.
         The defendant shall provide all billing records for such devices, whether used for business or personal, to the probation
         officer upon request.
4.       As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
         make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
5.       The defendant shall not possess or use a computer or any device that has access to any “on-line computer service” unless
         approved by the probation officer. This includes any Internet service provider, bulletin board system, or any other public or
         private computer network.
6.       The defendant shall have no contact with known children under the age of 18, unless approved by the probation officer in
         advance. The defendant is not to loiter within 100 feet of school yards, parks, playgrounds, arcades, or other places primarily
         used by children under the age of 18. This shall include that the defendant is not to engage in any occupation, either paid or
         volunteer, that causes him to regularly contact known persons under the age of 18.
7.       The defendant shall consent to the probation officer and/or probation service representative conducting periodic unannounced
         examinations of (a) any computer, or (b) computer-related device, or (c) equipment that has an internal or external modem
         which is in the possession or control of the defendant. The defendant consents to retrieval and copying of all data from any
         such computer, computer-related device, or equipment as well as any internal or external peripherals to ensure compliance
         with conditions. The defendant consents to removal of such computer, computer-related device, and equipment for purposes
         of conducting a more thorough inspection and analysis.

         The defendant consents to having installed on any computer, computer-related device, and equipment, at the defendant's
         expense, any hardware or software systems to monitor the use of such computer, computer-related device, and equipment at
         the direction of the probation officer, and agrees not to tamper with such hardware or software and not install or use any
         software programs designated to hide, alter, or delete his computer activities. The defendant consents to not installing new
         hardware without the prior approval of the probation officer.
8.       The defendant shall not possess, own, use, view, or read any material depicting and/or describing sexually explicit conduct
         involving children, including computer images, pictures, photographs, books, writings, drawings, videos, or video games.
         "Sexually explicit conduct" as defined in 18 U.S.C. § 2256(2) means actual or simulated (a) sexual intercourse, including
         genital-genital, oral-genital, or oral-anal, whether between the same or opposite sex; (b) bestiality; (c) masturbation; (d)
         sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any person.

         In addition, the defendant shall not possess, own, use, view, or read any material depicting and/or describing sexually explicit
         conduct involving adults, defined as sexually stimulating depictions of adult sexual conduct that are deemed inappropriate by
         the defendant's probation officer, including computer images, pictures, photographs, books, writings, drawings, videos, or
         video games depicting such conduct. Furthermore, the defendant shall not frequent any place whose primary purpose is to
         sell, rent, show, display, or give other forms of access to, material depicting and/or describing sexually explicit conduct.
9.       The defendant shall provide all requested business/personal phone records to the probation officer. The defendant shall
         disclose to the probation officer any existing contracts with telephone line/cable service providers. The defendant shall
         provide the probation officer with written authorization to request a record of all outgoing or incoming phone calls from any
         service provider.
10.      The defendant shall consent to third-party disclosure to any employer or potential employer, concerning any computer-related
         restrictions that are imposed upon him. This includes any activities in which you are acting as a technician, advisor, or
         consultant with or without any monetary gain or other compensation.
11.      The defendant shall attend, cooperate with, and actively participate in a sex offender treatment and therapy program [which
         may include, but is not limited to, risk assessment, polygraph examination, and/or Visual Reaction Treatment] as approved
         and directed by the probation officer and as recommended by the assigned treatment provider.
12.      The defendant’s residence shall be pre-approved by the probation officer. The defendant shall not reside in direct view of
         places such as school yards, parks, public swimming pools, or recreational centers, playgrounds, youth centers, video arcade
         facilities, or other places primarily used by children under the age of 18.
                      Case 2:15-cr-00227-JAM Document 115 Filed 01/25/18 Page 6 of 7
AO 245B-CAED(Rev. 11/2016) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:MICHAEL CAREY CLEMANS                                                                                                   Page 6 of 7
CASE NUMBER:2:15CR00227-1

                                              CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                             Assessment                       Fine                Restitution
         TOTALS                                                 $600
      The determination of restitution is deferred until 4/3/2018 . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the            fine         restitution

             The interest requirement for the              fine      restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                      Case 2:15-cr-00227-JAM Document 115 Filed 01/25/18 Page 7 of 7
AO 245B-CAED(Rev. 11/2016) Sheet 6 - Schedule of Payments
DEFENDANT:MICHAEL CAREY CLEMANS                                                                                                   Page 7 of 7
CASE NUMBER:2:15CR00227-1

                                                       SCHEDULE OF PAYMENTS
        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A.               Lump sum payment of $               due immediately, balance due
                          Not later than      , or
                          in accordance               C,        D,        E,or           F below; or
B.               Payment to begin immediately (may be combined with                 C,           D,    or   F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of      (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $    over a period of      (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                 that time; or

F.               Special instructions regarding the payment of crimimal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate:

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
